             Case 1:05-cr-00477-MHC-GGB Document 1647 Filed 04/01/13 Page 1 of 4




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

             JOSE MAGANA BARAJAS,                     :    CRIMINAL NO.
                  Movant,                             :    1:05-CR-0477-CC-GGB-8
                                                      :
                   v.                                 :    CIVIL ACTION NO.
                                                      :    1:09-CV-3459-CC-GGB
             UNITED STATES OF AMERICA,                :
                 Respondent.                          :    28 U.S.C. § 2255


                ORDER ADOPTING THE REPORT AND RECOMMENDATION OF
                 THE MAGISTRATE JUDGE AS THE ORDER OF THIS COURT

                   This matter is before the Court on the Final Report and Recommendation

             (“R&R”) issued by United States Magistrate Gerrilyn G. Brill [Doc. 1592], and

             Movant’s Objections thereto, [Doc. 1593]. In the R&R, Magistrate Judge Brill

             recommends denying Movant’s motion to vacate sentence under 28 U.S.C. § 2255.

                   Under 28 U.S.C. § 636(b)(1) and Rule 72 of the Federal Rules of Civil

             Procedure, the Court is obligated to conduct a de novo review of the portions of the

             R&R to which Movant has objected. The Court reviews the remainder of the R&R

             for plain error. United States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983).

             However, where a movant does not file specific objections to factual findings and

             recommendations of the magistrate judge, this Court need not perform a de novo

             review. Garvey v. Vaughn, 993 F.2d 776, 779 n.9 (11th Cir. 1993) (citing inter alia




AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1647 Filed 04/01/13 Page 2 of 4




             Stokes v. Singletary, 952 F.2d 1567, 1576 (11th Cir. 1992); LoConte v. Dugger, 847

             F.2d 745, 750 (11th Cir. 1988)).

                   In the R&R [Doc. 1592], Magistrate Judge Brill recommends dismissing

             Movant’s ineffective assistance of counsel claims related to sentencing because

             Movant’s waiver in his negotiated plea agreement precludes him from raising those

             claims. In addition, Magistrate Judge Brill recommends dismissing Movant’s

             remaining ineffective assistance of counsel claims that are not precluded by the

             waiver because those claims are without merit.

                   In his objections [Doc. 1593], Movant, through counsel, argues that his

             “generic” waiver does not preclude him from raising ineffective assistance of counsel

             claims related to sentencing. Movant also argues that his waiver was not voluntary

             because he did not know that the waiver covered future instances of ineffective

             assistance of counsel, and counsel was ineffective in advising Movant to enter into

             the waiver. [Id. at 7].

                   Movant’s objections are without merit. It is clear from the record that Movant

             knowingly and voluntarily waived his right to appeal and collaterally challenge his

             sentence. Movant specifically acknowledged by signing the plea agreement and a

             separate acknowledgment that the waiver in the plea agreement would prevent him,

                                                      2



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1647 Filed 04/01/13 Page 3 of 4




             except for the narrow exceptions stated, from appealing or challenging his sentence

             in any post-conviction proceeding. [Doc. 545 at 7, 13-14]. Further, the Court

             specifically addressed the negotiated appeal waiver with Movant during the plea

             colloquy, and Movant indicated that he understood that he was giving up the right to

             collaterally attack his sentence. [Doc. 1369 at 15-16]. The Eleventh Circuit has held

             that “a valid sentence-appeal waiver, entered into voluntarily and knowingly,

             pursuant to a plea agreement, precludes the defendant from attempting to attack, in

             a collateral proceeding, the sentence through a claim of ineffective assistance of

             counsel during sentencing.” Williams v. United States, 396 F.3d 1340, 1342 (11th

             Cir. 2005). Movant also acknowledged in the plea agreement and at his plea hearing

             that he was satisfied with the representation of his counsel. [Doc. 1369 at 20; Doc.

             545 at 14]. Accordingly, Movant’s objections are overruled.

                                                 Conclusion

                   For the foregoing reasons, IT IS HEREBY ORDERED that the Court

             ADOPTS AS ITS ORDER the Magistrate Judge’s Report and Recommendation

             over Petitioner’s Objections. Movant’s § 2255 motion [Doc.1471] is DENIED.

                   IT IS FURTHER ORDERED that a certificate of appealability be DENIED.




                                                      3



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1647 Filed 04/01/13 Page 4 of 4




                   The Clerk is DIRECTED to close this case.

                   IT IS SO ORDERED this 1st day of April, 2013.


                                          s/ CLARENCE COOPER
                                          CLARENCE COOPER
                                          SENIOR UNITED STATES DISTRICT JUDGE




                                                  4



AO 72A
(Rev.8/82)
